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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                              )                  Chapter 11
                                    )
CAESARS ENTERTAINMENT               )                  Case No. 15-01145 (ABG)
OPERATING COMPANY, INC., et al.,    )
                                    )
            Debtors.                )                  Jointly Administered
____________________________________)

                           DECLARATION OF TIMOTHY R. CASEY

         TIMOTHY R. CASEY, pursuant to 28 U.S.C. § 1746, being of full age, hereby declares

as follows:

         1.       I am counsel to Whitebox Advisors LLC (“Whitebox”) and submit this

declaration in support of the opposition of Whitebox Advisors LLC to Earl of Sandwich

(Atlantic City), LLC’s (“Earl”) motion for summary judgment.

         2.       Attached hereto as “Exhibit A” is a true and correct copy of certain documents

Whitebox produced in response to Earl’s requests for production in this contested matter, which

are cited by Bates stamp number “WBA-160-64, 166-85, 188”.

         3.       Attached hereto as “Exhibit B” is a true and correct copy of certain documents

Cowen Special Investments LLC produced in response to a document subpoena in this contested

matter, which are cited by Bates stamp number “CSI-458-59, 482-86, 504”.

         4.       Attached hereto as “Exhibit C” is a true and correct copy of the Assignment and

Release Agreement between Cowen and Whitebox.

         I declare under penalty of perjury that the foregoing is true and correct.

 Dated:       September 19, 2018                      _/s/ Timothy R. Casey_____________________
                                                      Timothy R. Casey
